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             IN THE UNITED STATES DISTRICT COURT FOR THE
           NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

BRADLEY J. SCHAUFENBUEL; et al.,              )
                                              )
                   Plaintiffs,                )
                                              )   Case No. 09-CV-1221
v.                                            )
                                              )
INVESTFORCLOSURES FINANCIAL,                  )   Judge Leinenweber
L.L.C.; et al.,                               )
                                              )   Magistrate Judge Nolan
                                              )
                   Defendants.                )

           REQUEST FOR CLERK OF COURT TO REFUND FILING FEE

       On February 25, 2009, while filing the above-captioned action, I mistakenly
paid the filing fee twice. This was an error. The proper filing fee was tracking
number 3541610. The duplicate, erroneous filing fee was tracking number
3541511. Please refund the duplicate fee back to the American Express account
that was used for payment. Thank you.

                                      PLAINTIFFS’ CLASS



                                      By: __/s/ Robert C. Thurston____
                                            One of Their Attorneys


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